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                                      Schedule 1

                                    The Contracts




AMERICAS 125945582
Lordstown Motors Corp., et al. ,
Schedule 1: Assumed Executory Contracts


  No.                            Counterparty                                                Contract                                 Counterparty Address          Debtor*   Cure Amount

         American Stock Transfer & Trust Company, LLC d/b/a         Transfer Agency and Registrar Services Agreement dated6201 15th Avenue
   1                                                                                                                                                                 LMC              $0.00
         Equiniti Trust Company, LLC                                February 27, 2019                                     Brooklyn, NY 11219
                                                                                                                          250 Park Avenue, Floor 18
   2     Complete Discovery Source, Inc.                            SOW dated December 16, 2020                                                                     LEVC         $15,158.09
                                                                                                                          New York, NY 10177
                                                                    Equity Edge Online and Employee Stock Plan Services   3 Edison Drive
   3     E*TRADE Financial Corporate Services, Inc.                                                                                                                 LEVC              $0.00
                                                                    Agreement dated October 5, 2020                       Alpharetta, GA 30005
                                                                    Amendment #3 to Equity Edge Online and Employee Stock 3 Edison Drive
   4     E*TRADE Financial Corporate Services, Inc.                                                                                                                 LEVC              $0.00
                                                                    Plan Services Agreement                               Alpharetta, GA 30005
                                                                                                                          3 Edison Drive
   5     E*TRADE Financial Corporate Services, Inc.                 Statement of Work for Stock Split Support Services                                               LMC              $0.00
                                                                                                                          Alpharetta, GA 30005
                                                                    Engagement Letter Agreement and Data Protection       16701 Melford Blvd, Suite 200
   6     FTI Consulting Technology LLC                                                                                                                               LMC         $15,974.85
                                                                    Addendum dated March 22, 2021                         Bowie, MD 20715
                                                                                                                          11808 Miracle Hills Drive
   7     Intrado Digital Media, LLC                                 Purchase order 118860 dated April 27, 2023                                                      LEVC              $0.00
                                                                                                                          Omaha, NE 68154
                                                                                                                                                                                              Case 23-10831-MFW




                                                                                                                          11808 Miracle Hills Drive
   8     Intrado Digital Media, LLC                                 Master Agreement dated October 18, 2022                                                          LMC              $0.00
                                                                                                                          Omaha, NE 68154
                                                                                                                          11808 Miracle Hills Drive
   9     Intrado Digital Media, LLC                                 Order Form dated October 18, 2022                                                                LMC              $0.00
                                                                                                                          Omaha, NE 68154
                                                                                                                          222 N Pacific Coast Highway, 3rd
   10    Kurtzman Carson Consultants LLC                            KCC Agreement for Services dated May 24, 2023         Floor                                      LMC              $0.00
                                                                                                                          El Segundo, CA 90245
                                                                                                                                                                                              Doc 1054-1




                                                                    1400 American Lane                                          Paylocity Corporation Full Bundle
   11    Paylocity Corporation                                                                                                                                      LEVC              $0.00
                                                                    Schaumburg, IL 60173                                        Subscription Term Agreement

                                                                    1400 American Lane                                          Paylocity Corporation Full Bundle
   12    Paylocity Corporation                                                                                                                                      LEVS              $0.00
                                                                    Schaumburg, IL 60173                                        Subscription Term Agreement
                                                                                                                                350 E Main Street, Suite 200
   13    Skynet Innovations                                         Enterprise Managed Services Contract                                                             LMC              $0.00
                                                                                                                                Batavia, OH 45103
                                                                                                                                11333 N. Scottsdale Road, Suite
   14    TERIS-Phoenix, LLC                                         Statement of Work dated March 14, 2023                      294                                  LMC         $56,672.91
                                                                                                                                                                                              Filed 03/04/24




                                                                                                                                Scottsdale, AZ 85254
                                                                    Proposal re: Pre-IPO Collaboration to Post-IPO Disclosure   1501 Energy Park Drive
   15    Toppan Merrill Bridge                                                                                                                                      LEVC              $0.00
                                                                    Management dated August 14, 2020                            St. Paul, MN 55108
                                                                                                                                1501 Energy Park Drive
   16    Toppan Merrill LLC                                         Proposal re: SEC Connect dated February 25, 2021                                                 LMC              $0.00
                                                                                                                                St Paul, MN 55108
                                                                                                                                23 Public Square, Suite 250
   17    Vestige Digital Investigations                             Service Agreement SOW dated November 6, 2020                                                     LMC          $3,705.00
                                                                                                                                Medina, OH 44256
                                                                                                                                                                                              Page 2 of 2




                                                                                                                                23 Public Square, Suite 250
   18    Vestige Ltd dba Vestige Digital Investments                Purchase order 109088 dated May 19, 2021                                                        LEVC              $0.00
                                                                                                                                Medina, OH 44256

* As used herein "LMC" refers to Lordstown Motors Corporation and "LEVC" refers to Lordstown EV Corporation.
